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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



 Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
         Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
              Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                          NOTICE OF DOCKETING - Short Form
  August 24, 2015


  To:         Laura A. Briggs
              District/Bankruptcy Clerk

  The below captioned appeal has been docketed in the United States Court of Appeals for the
  Seventh Circuit:

                     Appellate Case No: 15-2812

                     Caption:
                     UNITED STATES OF AMERICA,
                     Plaintiff - Appellee

                     v.

                     MARK A. WHITE,
                     Defendant - Appellant


                     District Court No: 1:98-cr-00038-LJM-MJD-3
                     Clerk/Agency Rep Laura A. Briggs
                     District Judge Larry J. McKinney

                     Date NOA filed in District Court: 08/21/2015


  If you have any questions regarding this appeal, please call this office.



  form name: c7_Docket_Notice_short_form(form ID: 188)
